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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                             for the
                                                  DistrictDistrict
                                             __________   of Connecticut
                                                                   of __________


Michael Barletta, individually and on behalf of all simi        )
                             Plaintiff                          )
                                v.                              )      Case No.     3:25-cv-00722-SRU
             Yale New Haven Health System                       )
                            Defendant                           )

                                               APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Michael Barletta, individually and on behalf of all others similarly situated                                   .


Date:          05/19/2025                                                                     /s/ Chloe Mangan
                                                                                              Attorney’s signature


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